                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                           DOCKET NO. 3:09CR39-FDW-9


UNITED STATES OF AMERICA            )
                                    )
            v.                      )                                 ORDER
                                    )
MARCO WIGFALL,                      )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the Court upon the Defendant’s “ProSe Oral Motion to Represent

Oneself at Trial” made on July 10, 2009. The Court conducted an initial hearing on the Motion at

the time the Motion was made by Defendant and denied the Motion. After a request by the

Government, further inquiry was made into the status of counsel at a hearing on July 21, 2009.

       The United States Supreme Court held in Faretta v. California, 422 U.S. 806, 819 (1975), that

the Sixth Amendment implicitly provides a criminal defendant an affirmative right to self-

representation. To be effective, “[a]n assertion of the right of self representation must be (1) clear

and unequivocal; (2) knowing, intelligent and voluntary; and (3) timely.” United States v. Frazier-

El, 204 F.3d 553, 558 (4th Cir. 2000) (internal citations omitted).

       At the hearing on July 21, 2009, the Court inquired into Defendant’s request to represent

himself and Defendant advised the Court that he did not want to represent himself and wanted to

proceed with Scott Gsell as his appointed counsel. The Court advised Defendant of his right to

counsel and his right to represent himself. The Court asked Defendant a series of questions and finds

that Defendant was not under the influence of alcohol or illegal drugs, that he understood the Court,

that he understood his right to counsel and his right to self-representation, that he understood the




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consequences of self-representation, and that he understood the charges against him as well as the

mandatory minimum and maximum penalties and fines. Defendant did acknowledge that he has

been diagnosed as bi-polar and takes prescription medication for this condition. However, based on

Defendant’s responses to the Court’s questions, the Court finds that this medication did not impair

the Defendant. After questioning Defendant, the Court allowed Defendant to confer with defense

counsel to determine how Defendant wished to proceed. After a discussion with defense counsel,

Defendant returned to the Court and stated that he wanted to retain his appointed counsel and did

not wish to represent himself.

       In conclusion, Defendant’s answers to the Court’s questions and his statements during the

hearing indicate that Defendant has made a knowing, intelligent and voluntary decision to be

represented by counsel. Therefore, for the foregoing reasons, the Defendant’s “ProSe Oral Motion

to Represent Oneself at Trial” is DENIED.

       The Clerk is directed to send copies of this Order to counsel for the parties; and to the

Honorable Frank D. Whitney.

        SO ORDERED.




                                                Signed: July 22, 2009




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